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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

MONIQUE GRIMES, as Personal
Representative of the Estate of
DAMON GRIMES, Deceased,

      Plaintiff,                            Case No. 17-cv-12860
v                                           Hon. Gershwin A. Drain
                                              consolidated with
TROOPER MARK BESSNER,                       Case No. 17-cv-13580
TROOPER ETHAN BERGER, and
SGT. JACOB LISS,

      Defendants.

GEOFFREY N. FIEGER (P30441)         MARK E. DONNELLY (P39281)
JAMES J. HARRINGTON, IV (P65351)    JOHN F. FEDYNSKY (P65232)
GINA U. PUZZUOLI (P37992)           Assistant Attorneys General
Fieger, Fieger, Kenney & Harrington, P.C.
                                    Attorneys for Defendants
Attorneys for Plaintiff             Civil Litigation, Employment &
19390 West 10 Mile Road             Elections Division
Southfield, MI 48075                P.O. Box 30736
(248) 355-5555                      Lansing, MI 48909
                                   (517) 373-6434
_____________________________________________________________

              PLAINTIFF’S SECOND AMENDED COMPLAINT
                    AND DEMAND FOR JURY TRIAL

      NOW COMES, Plaintiff, MONIQUE GRIMES, as Personal Representative

of the Estate of DAMON GRIMES, by and through her attorneys, FIEGER,

FIEGER, KENNEY & HARRINGTON, P.C., and for her Second Amended

Complaint and Jury Demand against the above named Defendants states as

follows:



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                                  JURISDICTION

      1.     This action arises under the United States Constitution, particularly

under the provisions of the Fourth and Fourteenth Amendments to the United

States Constitution and under the laws of the United States, particularly under the

Civil Rights Act, 42 U.S.C. §§ 1983, 1985 and 1988, and under the statutes and

common law of the State of Michigan.

      2.     This court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343(a)(3),

1343(a)(4) and 42 U.S.C §§ 1983, 1985, 1985(3), and 1988.

      3.     This court has supplemental jurisdiction of the Michigan law state

claims which arise out of the nucleus of operative facts common to Plaintiff’s

federal claims pursuant to 28 U.S.C. §1367.

      4.     The amount in controversy exceeds Seventy-Five Thousand dollars,

excluding interests, costs, and attorney fees.

                                       VENUE
      5.     Venue lies in the Eastern District of Michigan pursuant to 28 U.S.C §

1391(d). The events took place in the City of Detroit, County of Wayne, State of

Michigan, which is located within the jurisdiction of the United States District

Court for the Eastern District of Michigan, Southern Division.

                                      PARTIES
      6.     At all times relevant to this lawsuit, Plaintiff’s Decedent, DAMON

GRIMES, was a resident of the City of Detroit, County of Wayne, State of

Michigan.

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      7.     At all times relevant hereto, MONIQUE GRIMES, was duly

appointed as Personal Representative of the Estate of DAMON GRIMES by the

Wayne County Probate Court, Case #2017-830785-DE, Honorable Lawrence

Puolucci, presiding.

      8.     At all times relevant hereto, TROOPER MARK BESSNER, was a

citizen of the State of Michigan and was acting in his individual capacity and under

the color of state law within the course and scope of his employment as a State

Trooper for the State of Michigan.

      9.     At all times relevant hereto, Defendant, TROOPER ETHAN

BERGER, was a citizen of the State of Michigan and was acting in his individual

capacity and under the color of state law within the course and scope of his

employment as a State Trooper for the State of Michigan.

      10.    At all times relevant hereto, Defendant, SGT. JACOB LISS, was a

citizen of the State of Michigan and was acting in his individual capacity and under

the color of state law within the course and scope of his employment as a State

Trooper for the State of Michigan.

                            FACTUAL STATEMENT
      11.    Plaintiff hereby reincorporates and reasserts each and every allegation

set forth in the previous paragraphs of this Complaint.

      12.    On or about August 26, 2017, at around 5:30 p.m., DAMON

GRIMES, who was 15 years old, was operating an all-terrain vehicle [hereinafter,


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“ATV”] east on Rossini, near Gratiot Avenue, in the City of Detroit, State of

Michigan.

      13.   At all times relevant hereto, Defendants, TROOPER MARK

BESSNER and TROOPER ETHAN BERGER began to pursue DAMON GRIMES

and did so in a manner in direct violation of the laws of the State of Michigan

and/or policies and procedures of the Michigan State Police.

      14.   That Defendant, TROOPER ETHAN BERGER, was driving the

patrol car and Defendant, TROOPER MARK BESSNER was a passenger therein

while in pursuit of DAMON GRIMES, who was merely riding his ATV.

      15.   At all times relevant hereto, Defendant, SGT. JACOB LISS had

knowledge of the unlawful pursuit of DAMON GRIMES by Defendants

TROOPER MARK BESSNER and TROOPER ETHAN BERGER who were

acting in direct violation of the laws of the State of Michigan and/or policies and

procedures of the Michigan State Police.

      16.   At no time did TROOPER MARK BESSNER, TROOPER ETHAN

BERGER, or any other law enforcement officer witness DAMON GRIMES

commit any violent crime or felony.

      17.   At no time did DAMON GRIMES have a weapon or display any

object that appeared to be a weapon.




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      18.    At no time did DAMON GRIMES threaten Defendants, TROOPER

MARK BESSNER and TROOPER ETHAN BERGER, and/or any other police

officer or individual, in any way.

      19.    At no time did DAMON GRIMES pose an immediate threat of harm

to Defendants TROOPER MARK BESSNER, TROOPER ETHAN BERGER, or

any other law enforcement officer or any other person in the immediate vicinity.

      20.    At all times relevant hereto, Defendant, TROOPER MARK

BESSNER, deployed his Taser directly at DAMON GRIMES through the open

window of a moving patrol vehicle in violation of the United States Constitution

and the Michigan State Police policy and/or procedure.

      21.    At all times relevant hereto, Defendant, TROOPER ETHAN

BERGER, had knowledge that Defendant, TROOPER MARK BESSNER, was

going to deploy a Taser directly at DAMON GRIMES through the open window of

the moving patrol vehicle in violation of the United States Constitution and the

Michigan State Police and/or procedure and even though Defendant, TROOPER

ETHAN BERGER had time to stop the use of the taser and excessive force, he

operated the patrol car in such a manner as to assist Defendant, TROOPER MARK

BESSNER, with being able to deploy his taser, and thereby failed to stop the use of

the taser and in fact, participated in the use of the taser on DAMON GRIMES.




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      22.   At all relevant times hereto, Defendant, SGT. JACOB LISS was fully

aware of Defendants, TROOPER MARK BESSNER and TROOPER ETHAN

BERGER’S unconstitutional actions.

      23.   At all times relevant hereto, DAMON GRIMES was unlawfully struck

with the Taser while in motion on his ATV.

      24.   At all times relevant hereto, the electrical force of the Taser caused

DAMON GRIMES to lose control of the ATV propelling him into the rear end of

another motor vehicle.

      25.   At all times relevant, Defendants, TROOPER MARK BESSNER,

TROOPER ETHAN BERGER, and                      SGT. JACOB LISS, knew       that the

application of a Taser to an individual will have the effect of that person losing

muscle control and to tase an individual on a moving ATV would be extremely

dangerous and an excessive use of force.

      26.   At all times relevant hereto, Defendants, TROOPER MARK

BESSNER, TROOPER ETHAN BERGER, and Defendant, SGT. JACOB LISS,

knew that the application of a Taser upon DAMON GRIMES, who was still in

motion on the ATV, posed a substantial risk of death or serious injury to him.

      27.   That after shooting DAMON GRIMES with the Taser, Defendants,

TROOPER MARK BESSNER and TROOPER ETHAN BERGER, did not

immediately stop the patrol vehicle.




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      28.    That after shooting DAMON GRIMES with the Taser, Defendants,

TROOPER MARK BESSNER and TROOPER ETHAN BERGER, committed an

unlawful partial road block without the required authority of a shift supervisor and

without utilizing the patrol vehicle’s emergency lights.

      29.    That after shooting DAMON GRIMES with the Taser, Defendants,

TROOPER MARK BESSNER and TROOPER ETHAN BERGER, failed to render

immediate first aid to the victim DAMON GRIMES.

      30.    While at the scene, Defendant, SGT. JACOB LISS, did not report to

his supervisors that a taser or that excessive force had been used on DAMON

GRIMES.

      31.    Defendant, SGT. JACOB LISS, was provided with a taser wire from

the taser used by Defendants, TROOPER MARK BESSNER and TROOPER

ETHAN BERGER in the excessive use of force on DAMON GRIMES, and

secretly discarded it in a trash can, in an effort to conceal, destroy, and spoil the

evidence of the use of a taser and use of excessive force.

      32.    Subsequently, Defendant, TROOPER ETHAN BERGER, falsified his

report relating to the incident and the use of excessive force on DAMON

GRIMES.

      33.    At the time, Defendant, TROOPER ETHAN BERGER, knew that

criminal offenses had been committed by Defendant, MARK BESSNER, and

Defendant, TROOPER ETHAN BERGER, drafted a false police report with the


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intent of assisting Defendant, TROOPER MARK BESSNER, in avoiding

discovery, arrest, trial, and punishment for the crime that occurred.

      34.       Additionally, subsequent to the incident, Defendant, TROOPER

ETHAN BERGER, failed to truthfully answer questions by his superiors regarding

the incident.

      35.       DAMON GRIMES died as a direct and proximate result of the

wrongful acts and omissions of Defendants, TROOPER MARK BESSNER and

TROOPER ETHAN BERGER.

      36.       That as a direct and proximate result of Defendants, TROOPER

MARK BESSNER, TROOPER ETHAN BERGER, and SGT. JACOB LISS

conspiracy to deprive and interfere with the constitutional rights of Damon Grimes

and his estate through their concealment, destruction, and spoliation of the

evidence and falsification of the true facts of the incident, the Estate of DAMON

GRIMES has sustained permanent and serious injuries.

      37.       At all times relevant hereto, Defendant, TROOPER MARK

BESSNER, was acting under the color of state law as a State Trooper employed by

the State of Michigan and proximately caused DAMON GRIMES injuries at set

forth herein.

      38.       At all times relevant hereto, Defendant, TROOPER ETHAN

BERGER, was acting under the color of state law as a State Trooper employed by




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the State of Michigan and proximately caused DAMON GRIMES injuries at set

forth herein.

      39.       That at all times relevant hereto, Defendant, SGT. JACOB LISS, was

acting under the color of state law as a State Trooper employed by the State of

Michigan and proximately caused DAMON GRIMES injuries at set forth herein.

                             COUNT I
     42 U.S.C § 1983-EXCESSIVE FORCE AGAINST DEFENDANTS,
     TROOPER MARK BESSNER AND TROOPER ETHAN BERGER

      40.       Plaintiff hereby reincorporates and reasserts each and every

allegation set forth in the previous paragraphs of this Complaint.

      41.       At all times relevant hereto, Defendant, TROOPER MARK

BESSNER, was acting under the color of state law and in his individual capacity as

a State Trooper for the State of Michigan and his acts and/or omissions were

conducted within the scope of his official duties and employment.

      42.       At all times relevant hereto, Defendant, TROOPER ETHAN

BERGER, was acting under the color of state law and in his individual capacity as

a State Trooper for the State of Michigan and his acts and/or omissions were

conducted within the scope of his official duties and employment.

      43.       At all times relevant hereto, as State Troopers acting under the color

of law, Defendants, TROOPER MARK BESSNER and TROOPER ETHAN

BERGER, were required to obey the laws of the United States, including those




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 laws identified under the Fourth and Fourteenth Amendments to the United States

 Constitution.

          44.   In   violation   of   DAMON        GRIMES’       clearly   established

 constitutionally-protected rights to be free from punishment and deprivation of life

 and liberty without due process of law under the Fourth and Fourteenth

 Amendments to the United States Constitution, Defendants, TROOPER MARK

 BESSNER and TROOPER ETHAN BERGER, unlawfully used excessive force

 against DAMON GRIMES, who was 15 years old, thereby causing his untimely

 death.

          45.   Under all the circumstances known to Defendants, TROOPER MARK

 BESSNER and TROOPER ETHAN BERGER, the physical force used against

 DAMON GRIMES was objectively unreasonable and clearly excessive.

          46.   The misconduct of Defendants, TROOPER MARK BESSNER and

 TROOPER ETHAN BERGER, directly and proximately caused DAMON

 GRIMES and members of his estate to suffer numerous injuries and damages and

 members of his estate will continue to suffer in the future, including but not limited

 to:

                a. Conscious physical pain and suffering endured by DAMON
                   GRIMES during the time between his injury and death;
                b. Medical and hospital expenses;
                c. Funeral and burial expenses;
                d. Loss of financial support and/or future support from DAMON
                   GRIMES;
                e. Loss of society and companionship of DAMON GRIMES;
                f. Death;

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              g. Loss of service;
              h. Loss of gifts and/or other valuable gratuities;
              i. Attorneys fees and costs pursuant to 42 U.S.C. §1988;
              j. Punitive damages;
              k. Other damages, injuries, and consequences that are found to be
                 related to the incident that develops during the course of discovery;
                 and
              l. Any other damages allowed by law.

       47.    The acts and/or omissions of Defendants, TROOPER MARK

 BESSNER and TROOPER ETHAN BERGER, were willful, wanton, reckless,

 malicious, oppressive, and/or done with a conscious and/or reckless disregard for

 the constitutional rights of DAMON GRIMES and Plaintiff therefore requests an

 award of punitive and exemplary damages.

       48.    That these Defendants are not entitled to qualified immunity.

       WHEREFORE, Plaintiff respectfully requests this Honorable Court enter

 judgment in his favor against Defendants and in an amount greatly in excess of

 Seventy-Five Thousand dollars ($75,000.00) exclusive of costs, interest and

 attorney fees.

                         COUNT II
    GROSS NEGLIGENCE AGAINST DEFENDANTS TROOPER MARK
     BESSNER, TROOPER ETHAN BERGER, AND SGT. JACOB LISS

       49.    Plaintiff hereby reincorporates and reasserts each and every allegation

 set forth in the previous paragraphs of this Complaint.

       50.    At all times relevant hereto, Defendants, TROOPER MARK

 BESSNER and TROOPER ETHAN BERGER, owed DAMON GRIMES a duty to



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 not act in a grossly negligent manner, to act prudently and with reasonable care and

 to avoid the use of unnecessary and unreasonable force.

       51.    At all times relevant hereto, Defendant, SGT. JACOB LISS, owed

 DAMON GRIMES a duty to not act in a grossly negligent manner, to act prudently

 and with reasonable care and to report the use of unnecessary and unreasonable

 force and all of evidence of the same.

       52.    Defendants, TROOPER MARK BESSNER and TROOPER ETHAN

 BERGER, breached the duties owed to DAMON GRIMES when Defendants acted

 with a substantial lack of concern and with reckless disregard for the safety of

 DAMON GRIMES, including but not limited to the following particulars:

        a. Using and allowing the use of a Taser on a child in response to a traffic
           violation thereby causing his death;

        b. Failing to exhaust all other less intrusive uses of force before using
           and/or allowing the use of the Taser upon DAMON GRIMES, a child;

        c. Failing to issue verbal warning against DAMON GRIMES prior to using
           the Taser against him;

        d. Deploying and/or allowing the deployment of a Taser at DAMON
           GRIMES who was operating a moving ATV thereby causing a collision,
           in complete disregard for the safety of DAMON GRIMES and others;

        e. Deploying and/or allowing the deployment of a Taser through an open
           window of a moving vehicle in violation of State of Michigan policy and
           procedure;

        f. Engaging in and/or allowing the engagement in a high-speed pursuit in
           response to a misdemeanor traffic violation in complete disregard for the
           safety of DAMON GRIMES and others;



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        g. Engaging in and/or allowing the engagement in a high-speed pursuit in
           response to a misdemeanor traffic violation in violation of State of
           Michigan and/or City of Detroit Police Department policy and
           procedure;

        h. Utilizing deadly force and/or allowing the use of deadly force upon
           DAMON GRIMES who Defendant, TROOPER MARK BESSNER, did
           not witness commit any violent crime or felony;

        i. Utilizing deadly force and/or allowing the use of deadly force upon
           DAMON GRIMES who was not in possession of a weapon and did not
           display any object that appeared to be a weapon;

        j. Utilizing deadly force and/or allowing the use of deadly force upon
           DAMON GRIMES who did not pose an immediate threat of harm to
           Defendant, TROOPER MARK BESSNER, or any person in the
           immediate vicinity;

        k. Utilizing deadly force and/or allowing the use of deadly force upon
           DAMON GRIMES who did not threaten Defendant, TROOPER MARK
           BESSNER and/or Defendant, TROOPER MARK BESSNER, or any
           member of the public in any way;

        l. Acting with reckless disregard for the safety of DAMON GRIMES;

        m. Destroying, spoiling and concealing evidence used in the excessive
           force on DAMON GRIMES and resulting in the death of a citizen;

        n. Failing to provide immediate aid to DAMON GRIMES, who was laying
           in the street dying;

       53.    Defendant, SGT. JACOB LISS, breached the duties owed to DAMON

 GRIMES when he acted with a substantial lack of concern and with reckless

 disregard for the rights of DAMON GRIMES, including but not limited to the

 following particulars:




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           a. Destroying, spoiling and concealing evidence used in the excessive
              force on DAMON GRIMES and resulting in the death of a citizen;

           b. Failing to advise superiors and/or investigators of the use of excessive
              force on DAMON GRIMES and the use of a taser in the death of
              DAMON GRIMES;

           c. All other breaches learned through the course of discovery which are
              hereby adopted by reference.


       54.      At all times relevant, Defendants, TROOPER MARK BESSNER,

 TROOPER ETHAN BERGER and SGT. JACOB LISS’ conduct was so reckless

 as to have a substantial disregard as to whether injury would occur and/or

 otherwise amounts to gross negligence.

       55.      As a result of the grossly negligent conduct of Defendants,

 TROOPER MARK BESSNER, TROOPER ETHAN BERGER and SGT. JACOB

 LISS, such acts were the proximate cause of the injuries and damages claimed

 herein.

       56.      That the Defendants are not entitled to governmental immunity,

       57.      The misconduct of Defendants, TROOPER MARK BESSNER,

 TROOPER ETHAN BERGER and SGT. JACOB LISS, directly and proximately

 caused DAMON GRIMES and members of his estate to suffer numerous injuries

 and damages and members of his estate will continue to suffer in the future,

 including but not limited to:

                a. Conscious physical pain and suffering endured by DAMON
                   GRIMES during the time between his injury and death;
                b. Medical and hospital expenses;

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              c. Funeral and burial expenses;
              d. Loss of financial support and/or future support from DAMON
                 GRIMES;
              e. Loss of society and companionship of DAMON GRIMES;
              f. Death;
              g. Loss of service;
              h. Loss of gifts and/or other valuable gratuities;
              i. Attorneys fees and costs pursuant to 42 U.S.C. §1988;
              j. Other damages, injuries, and consequences that are found to be
                 related to the incident that develops during the course of discovery;
                 and
              k. Any other damages allowed by law.

       WHEREFORE, Plaintiff respectfully requests this Honorable Court enter

 judgment in his favor against Defendants and in an amount greatly in excess of

 Seventy-Five Thousand dollars ($75,000.00) exclusive of costs, interest and

 attorney fees.



                         COUNT III
  ASSAULT AND BATTERY AGAINST DEFENDANTS, TROOPER MARK
            BESSNER AND TROOPER ETHAN BERGER

       58.        Plaintiff hereby reincorporates and reasserts each and every

 allegation set forth in the previous paragraphs of this Complaint.

       59.        The acts taken by Defendants, TROOPER MARK BESSNER and

 TROOPER ETHAN BERGER , were not undertaken in good faith and were not

 discretionary, but were undertaken with malice.

       60.        At all material times these Defendants, conspired and/or caused

 DAMON GRIMES to be subjected to involuntary, unnecessary and/or unwanted

 contact.

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       61.    At all material times herein, the physical contact with DAMON

 GRIMES was inflicted upon and/or encouraged by these Defendants.

       62.    The physical contact upon DAMON GRIMES was unnecessary and

 excessive and furthermore was without justification.

       63.     As a direct and proximate cause of the assault and batteries, failure

 to intervene and/or stop the unnecessary assault and batteries upon DAMON

 GRIMES and failure to report the assault and batteries, Plaintiff sustained injuries,

 including but not limited to:

              a. Conscious physical pain and suffering endured by DAMON
                 GRIMES during the time between his injury and death;
              b. Medical and hospital expenses;
              c. Funeral and burial expenses;
              d. Loss of financial support and/or future support from DAMON
                 GRIMES;
              e. Loss of society and companionship of DAMON GRIMES;
              f. Death;
              g. Loss of service;
              h. Loss of gifts and/or other valuable gratuities;
              i. Attorneys fees and costs pursuant to 42 U.S.C. §1988;
              j. Other damages, injuries, and consequences that are found to be
                 related to the incident that develops during the course of discovery;
                 and
              k. Any other damages allowed by law.

       64.      That the actions of Defendants were so egregious and outrageous

 that Plaintiff’s damages were heightened and made more severe so that Plaintiff is

 entitled to exemplary damages.

       65.    Defendants are not entitled to governmental immunity as their actions

 were so egregious, were done with a substantial and reckless disregard as to


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 whether an injury would result and were the proximate cause of the injuries to

 Plaintiff.

        WHEREFORE, Plaintiff respectfully requests this Honorable Court enter

 judgment in his favor against Defendants and in an amount greatly in excess of

 Seventy-Five Thousand dollars ($75,000.00)



                            COUNT IV
     VIOLATION 42 USC § 1985(3) CONSPIRACY TO DEPRIVE AND
       INTERFERE WITH PLAINTIFF'S CIVIL RIGHTS AGAINST
    DEFENDANTS, TROOPER MARK BESSNER AND ETHAN BERGER
                     AND SGT. JACOB LISS

        66.   Plaintiff hereby reincorporates and reasserts each and every allegation

 set forth in the previous paragraphs of this Complaint.

        67.   Defendants, TROOPER MARK BESSNER, TROOPER ETHAN

 BERGER, and SGT. JACOB LISS and/or others by their concerted actions of

 falsifying, destroying, spoiling and concealing evidence of the use of the taser and

 excessive force acted in concert to commit and accomplish unlawful acts resulting

 in the deprivation of rights, including a deprivation of Due Process, to DAMON

 GRIMES and his family.

        68.     In addition, the actions of Defendants, TROOPER MARK

 BESSNER, TROOPER ETHAN BERGER, and SGT JACOB LISS were racially

 motivated and intended to deprive DAMON GRIMES and his family of the equal

 protection of the laws.


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       69.      Defendants’ actions included, but were not limited to:

             a. Conspiring to not immediately render first aid to DAMON
                GRIMES, intentionally discarding the taser wire from the taser
                used to commit excessive force upon DAMON GRIMES;

             b. Conspiring not to report to supervisors and/or investigators the use
                of a taser, the use of excessive force and the destruction, spoliation
                and concealment of the taser wire used in the excessive force upon
                DAMON GRIMES:

             c. Conspiring to falsify reports and failing to truthfully answer
                questions by superiors and/or investigators;

             d. All other breaches learned through the course of discovery which
                are hereby adopted by reference.

       70.    Defendants, TROOPER MARK BESSNER, TROOPER ETHAN

 BERGER, and SGT. JACOB LISS and/or others by and through their actions

 thereby had a single plan when they conspired and explicitly agreed to inflict

 wrongs against DAMON GRIMES and his family and injuries upon DAMON

 GRIMES and his family.

       71.    Defendants, TROOPER MARK BESSNER, TROOPER ETHAN

 BERGER, and SGT. JACOB LISS and/or others possessed the same motives and

 same objective to violate such rights when they knew about and/or participated in:

 intentionally discarding the taser wire from the taser used to commit excessive

 force upon DAMON GRIMES; failing to report to supervisors and/or investigators

 the use of a taser and of excessive force; failing to report and concealing the

 destruction and spoliation of the taser wire used in the excessive force upon



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 DAMON GRIMES; by providing false reports regarding the incident; and/or by

 failing to truthfully answer questions by supervisors and/or investigators.

       72.     Defendants, TROOPER MARK BESSNER and TROOPER ETHAN

 BERGER and SGT JACOB LISS and/or others’ overt actions deprived and

 interfered, either directly with the civil rights of DAMON GRIMES and his family.

       73.    As a direct and proximate cause of the conspiracy to interfere with

 the civil rights of DAMON GRIMES and his family, Plaintiff sustained injuries,

 including but not limited to:

              a. Conscious physical pain and suffering endured by DAMON
                 GRIMES during the time between his injury and death;
              b. Medical and hospital expenses;
              c. Funeral and burial expenses;
              d. Loss of financial support and/or future support from DAMON
                 GRIMES;
              e. Loss of society and companionship of DAMON GRIMES;
              f. Death;
              g. Loss of service;
              h. Loss of gifts and/or other valuable gratuities;
              i. Attorneys fees and costs pursuant to 42 U.S.C. §1988;
              j. Loss of parental –child relationship;
              k. Punitive and/or exemplary damages;
              l. Other damages, injuries, and consequences that are found to be
                 related to the incident that develops during the course of discovery;
                 and
              m. Any other damages allowed by law.




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        WHEREFORE, Plaintiff respectfully requests this Honorable Court enter

 judgment in his favor against Defendants and in an amount greatly in excess of

 Seventy-Five Thousand dollars ($75,000.00) exclusive of costs, interest and

 attorney fees.

                               Respectfully submitted,

                                 /s/ Geoffrey N. Fieger
                               Geoffrey N. Fieger (P30441)
                               Fieger, Fieger, Kenney & Harrington, P.C.
                               Attorney for Plaintiff
                               19390 W. Ten Mile Rd.
                               Southfield, MI 48075
 Dated: June 8, 2018           (248) 355-5555




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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 MONIQUE GRIMES, as Personal
 Representative of the Estate of
 DAMON GRIMES, Deceased,

       Plaintiff,                            Case No. 17-cv-12860
 v                                           Hon. Gershwin A. Drain
                                               consolidated with
 TROOPER MARK BESSNER,                       Case No. 17-cv-13580
 TROOPER ETHAN BERGER, and
 SGT. JACOB LISS,

       Defendants.

 GEOFFREY N. FIEGER (P30441)         MARK E. DONNELLY (P39281)
 JAMES J. HARRINGTON, IV (P65351)    JOHN F. FEDYNSKY (P65232)
 GINA U. PUZZUOLI (P37992)           Assistant Attorneys General
 Fieger, Fieger, Kenney & Harrington, P.C.
                                     Attorneys for Defendants
 Attorneys for Plaintiff             Civil Litigation, Employment &
 19390 West 10 Mile Road             Elections Division
 Southfield, MI 48075                P.O. Box 30736
 (248) 355-5555                      Lansing, MI 48909
                                    (517) 373-6434
 _____________________________________________________________

                       RELIANCE ON JURY DEMAND

       NOW COMES Plaintiff, MONIQUE GRIMES, as Personal Representative

 of the Estate of DAMON GRIMES, Deceased, by and through her attorneys

 FIEGER, FIEGER, KENNEY & HARRINGTON, P.C., and hereby relies on the




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 demand for trial by jury previously filed in the above-captioned matter.

                                 Respectfully submitted,

                                   /s/ Geoffrey N. Fieger
                                 Geoffrey N. Fieger (P30441)
                                 Fieger, Fieger, Kenney & Harrington, P.C.
                                 Attorney for Plaintiff
                                 19390 W. Ten Mile Rd.
                                 Southfield, MI 48075
                                 (248) 355-5555
 Dated: June 8, 2018

                           CERTIFICATE OF SERVICE

       I hereby certify that on June 8, 2018, I electronically filed the
 foregoing paper with the Clerk of the Court using the ECF system which
 will send notification of such filing to all participating attorneys.

                                 /s/: Samantha M. Teal
                       Legal Assistant to Geoffrey N. Fieger




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